            17-11524-shl       Doc 92      Filed 09/02/20 Entered 09/02/20 16:21:04                  Main Document
                                                         Pg 1 of 3




                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF NEW YORK

IN RE: 1018 Morris Park Ave Realty, Inc.                         CASE NO: 17-11524
                                                                 DECLARATION OF MAILING
                                                                 CERTIFICATE OF SERVICE
                                                                 Chapter: 11




On 9/1/2020, I did cause a copy of the following documents, described below,
Motion to Dismiss




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated
as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 9/1/2020
                                                           /s/ Norma Ortiz
                                                           Norma Ortiz 2206530
                                                           Ortiz & Ortiz, LLP
                                                           35-10 Broadway, Suite 202
                                                           Astoria, NY 11106
                                                           718 522 1117
               17-11524-shl         Doc 92       Filed 09/02/20 Entered 09/02/20 16:21:04                       Main Document
                                                               Pg 2 of 3




                                        UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF NEW YORK

 IN RE: 1018 Morris Park Ave Realty, Inc.                               CASE NO: 17-11524

                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 11




On 9/1/2020, a copy of the following documents, described below,

Motion to Dismiss




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 9/1/2020




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Norma Ortiz
                                                                            Ortiz & Ortiz, LLP
                                                                            35-10 Broadway, Suite 202
                                                                            Astoria, NY 11106
           17-11524-shl
PARTIES DESIGNATED           DocWERE
                   AS "EXCLUDE"   92 NOTFiled 09/02/20
                                         SERVED           Entered
                                                VIA USPS FIRST CLASS09/02/20
                                                                     MAIL     16:21:04 Main Document
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE"Pg 3 of 3 ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                                        RECEIVED

CASE INFO                                APRILHARVINC/OBURNS&HARRIS               INTERNAL REVENUE SERVICE
1018 MORRIS PARK AVE REALTY INC.         233BROADWAY-STE.900                      CENTRALIZED INSOLVENCY OP.
CASE#17-11524                            NEW YORK NY 10279                        POST OFFICE BOX 7346
                                                                                  PHILADELPHIA PA 19101




MIGUELGARCIA                             MPGRETTY REALTY LLC                      NEW YORK STATE DEPT OF TAX.
C/O MPGRETTY REALTY LLC                  C/O KIDONAKIS & CORONA PLLC              BANKRUPTCY SECTION
1018MORRIS PARK AVE                      1350 AVE OF THE AMERICAS 4TH FL.         PO BOX 4137
BRONX NY 10462                           NEW YORK NY 10019                        BINGHAMTON NY 13902




NYC DEPARTMENT OF FINANCE
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